                 Case 1:10-cr-00249-JLT-BAM Document 233 Filed 09/29/14 Page 1 of 1
                                          IN THE UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                     )
                                              )
                Plaintiff,                    )
        vs.                                   )                  NO. 1:10-cr-00249 AWI
Darling Montalvo,                             )
                Defendant.                    )

                                        APPLICATION FOR WRIT OF HABEAS CORPUS

The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                  ( ) Ad Prosequendum                (X) Ad Testificandum
Name of Detainee:         Eric Hernandez
Detained at (custodian): FCI Lompoc

Detainee is:      a)       ( ) Charged in this district by:
                                    ( ) Indictment ( ) Information ( ) Complaint
                           Charging Detainee With: __________________________

         or       b)       (X) a witness not otherwise available by ordinary process of the Court

Detainee will:    a)        (X) return to the custody of detaining facility upon termination of
             proceedings
        or        b)        ( ) be retained in federal custody until final disposition of federal charges, as a sentence
              is currently being served at the detaining facility

Appearance is necessary November 4, 2014, at 8:30 a.m., at the U.S. District Court in Fresno, California, to testify in the
above-referenced matter.

                  Signature: /s/ Eric V. Kersten
                  Printed Name & Phone No.: ERIC V. KERSTEN, 2300 Tulare St., Suite 330,
                                                 Fresno, CA 93721
                                        Phone: (559) 487-5561
                  Attorney of Record for:       Darling Montalvo

                                                    WRIT OF HABEAS CORPUS

                                      ( ) Ad Prosequendum                  (X) Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal for this district, is hereby
ORDERED to produce the named detainee, on the date and time recited above, and any further proceedings to be had in this cause,
and at the conclusion of said proceedings to return said detainee to the above-named custodian.


_______________9/26/2014_                                        /s/ Barbara A. McAuliffe
Date                                                             United States District/Magistrate Judge
Please provide the following, if known:
         AKA(s) (if applicable)     Eric Hernandez                        (X) Male ( ) Female
         Booking or CDC #:          65066                                 DOB:
         Facility Address: FCI Lompoc                                     Race: White
                           3600 Guard Road                                FBI #:
                           Lompoc, CA 93436
         Facility Phone: (805) 736-4154
         Currently Incarcerated For
                                                        RETURN OF SERVICE
         Executed on                                         by


                                                                                   Signature
